                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

*************************************
William Soler, Jr.,            *
                                    *
               Plaintiff,           *
       v.                           *                 Civil No. 1:20-cv-00517-PB
                                    *
Christopher T. Sununu, et al.,   *
                                    *
               Defendants.          *
                                    *
*************************************

                JOSHUA N. DEBLOIS’S ANSWER TO THE COMPLAINT

       Defendant Joshua N. Deblois (“Deblois) by and through his attorneys, the Office of the

New Hampshire Attorney General, answers and responds as follows to Plaintiff William Soler

Justice’s complaint (ECF No. 1) and the claims remaining after the Court’s preliminary review

and Amended Report and Recommendation (ECF No. 29).

                                   ADMISSIONS & DENIALS

       Defendant generally denies the allegations Plaintiff sets forth in his complaint. See Fed.

R. Civ. P. 8(b)(3). As such, any allegation not expressly admitted herein is denied. Where

Defendant lacks knowledge or information sufficient to form a belief about an allegation,

Defendant so responds. See Fed. R. Civ. P. 8(b)(5). As to any claims raised against defendants

other than Deblois, Defendant lacks knowledge or information sufficient to form a belief about

Plaintiff’s allegations and to the extent a response is required, those claims are denied.

       Defendant responds to the claims identified in the Amended Report and

Recommendation of December 2, 2022 (ECF No. 29).

       As to specific facts within Plaintiff’s complaint, Defendant responds to the following:
       1.      ¶1: Defendant is without information to confirm or deny, and leaves Plaintiff to

his proof.

       2.      ¶13: Defendant admits that he is a citizen of the United States, and for dates of the

allegation was an employee of the New Hampshire Department of Corrections (“DOC”).

       3.      ¶33: Admitted that Plaintiff was housed in the Secure Psychiatric Unit (“SPU”)

on February 18, 2018. Defendant denies that Plaintiff was “banging on the cell door for

approximately 10 minutes.” By way of further response, Defendant states Plaintiff was banging

on the door for approximately 45-50 minutes and refused to quiet or calm despite multiple

attempts to discuss what was upsetting Plaintiff. Plaintiff further stated that he was “ready for

combat,” and refusing to stop banging on the cell door.

       4.      ¶35: Admitted that on February 18, 2018, Defendant entered the cell holding

Plaintiff and extracted plaintiff. By way of further response, Defendant states that Plaintiff

refused to calm down, to present himself to be cuffed up for restraint. Plaintiff further stripped

himself naked and moved to stand on his bed in the corner of the cell. Defendant with colleagues

prepared to and entered the cell, whereupon Plaintiff refused an additional command to get down

from the bed and accept being cuffed. For safety of all involved, Defendant deployed the use of

his taser allowing Plaintiff to be restrained and checked by medical personnel prior to transport.

       5.      ¶36: Admitted that Plaintiff stripped himself naked prior to security personnel

entering the cell. Further admitted that Plaintiff was handcuffed, double locked, and checked for

capillary flow, whereupon Plaintiff was moved to a portable stretcher for medical check and

transport.

       6.      ¶55: Defendant admits that Plaintiff was awakened in order to confirm whether he

was calm enough to return to his cell, Defendant denies that it was “roughly.” Defendant is




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without information to confirm or deny whether Plaintiff was strip search after being released

from restraint, and therefore denies.

        7.        ¶¶56-64: Defendant is without knowledge to confirm or deny any filings,

complaints, or lawsuits filed by Plaintiff, and therefore denies.

        8.        As to the remaining paragraphs and factual assertions not previously addressed

above, Defendant is without information to admit or deny, and therefore denies.

        9.        Defendant responds to the “Counts” as identified in the Amended Report and

Recommendation below. To the extent there are additional allegations against Defendant not

addressed above or in the following counts, Defendant is without information to admit or deny,

and therefore denies.

             I.   Defendant’s Response to the Claims Identified in the Amended Report &
                  Recommendation

        10.        Claim 1(a) 1 – Defendant denies that the use of force on February 18, 2018 in

order to restrain Plaintiff was objectively unreasonable, that Plaintiff was “banging on his cell

door for 10 minutes,” but rather closer to 50 minutes despite repeated requests to stop and

attempts to deescalate.

        11.       Claim 1(a)(i) – Defendant admits that a taser was deployed in order to restrain

Plaintiff.

        12.       Claim 1(a)(ii) – Denied. By way of further answer, Plaintiff had stripped himself

naked, and stood upon the back corner of his bed stating that he was “ready for combat” prior to

the entry of security personnel; upon deployment of the taser, Plaintiff dropped onto the bed and

was secured by personnel prior to transport and medical check. Defendant is without


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  Amended Report and Recommendation (ECF 29) identifies three subparts to Claim 1, only 1(a) is directed to
Defendant Deblois. To the extent a response is required by Defendant Deblois as to Claims 1(b) or 1(c), Defendant
is without information to admit or deny and therefore denies.


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information as to whether the inmate had removed the mattress from the frame at the time of the

incident, and therefore denies.

        13.       Claim 1(a)(iii) – Denied. By way of further answer, administration, and the

decision to administer medicine, is performed by medical personnel and neither the decision to

nor the act of administering medicine was performed by Defendant.

        14.      Claim 1(a)(iv) – Denied that Plaintiff was transported “roughly.” By way of

further answer, once Plaintiff was restrained, medical personnel determined that that Plaintiff

required what is referred to as four-point restraints; Plaintiff was strapped to a portable stretcher

for transport.

        15.      Claim 1(a)(v) – Denied. By way of further answer, Defendant states that medical

personnel make the decision as to whether four-point restrain is necessary. Four-point restraint is

not a punishment, but rather is utilized to restrain a resident for their safety or the safety of

others. Defendant is without information to admit or deny the duration of the restraint, and

therefore denies.

        16.      Claim 2(a)2 – Denied. By way of further answer, Defendant does not identify any

claim of having tased Plaintiff on July 13, 2018. Additionally, Defendant had Fridays and

Saturdays as non-work days during the time period in question, as July 13, 2018 was a Friday,

Defendant states that upon information and belief, was not present at the SPU on that day.

        17.      Claim 3 – Defendant is without information to admit or deny, and therefore

denies. By way of further response, Defendant admits to waking Plaintiff and having a nurse

assess him for return to his cell, which occurred.

        18.      Claim 15(a) – Denied.

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  The Court’s Amended Report and Recommendation identifies the date as July 18, 2018 (ECF. No. 27 at 11),
however, Plaintiff’s Complaint references July 13, 2018 (ECF. No. 1 at ¶¶45-49). Defendant’s response presumes
the Plaintiff’s alleged date is accurate.


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        19.     Claim 15(b) – Denied.

        20.     Claim 15(c)(i) – Denied.

        21.     Claim 15(c)(ii) – Denied.

        22.     Claim 15(c)(iii) – Denied.

        23.     Claim 15(d) – Denied.

        24.     Claim 15(e) – Denied.

        4.      Remaining Allegations: Plaintiff makes no allegation against Defendant in the

other surviving claims contained within the Complaint and therefore no further response is

required, to the extent one is required, Defendant lacks knowledge or information sufficient to

form a belief as to the truth of those allegations and thus denies them. See Fed. R. Civ. P.

8(b)(1)(B).

        5.      Relief Requested: Defendant Deblois generally denies that Plaintiff is entitled to

the relief he requests.

                                  AFFIRMATIVE DEFENSES

        6.      In asserting the following affirmative defenses to Plaintiff’s claims, Deblois does

not concede that the assertion of such defenses imposes any burden of proof on Defendants with

respect thereto.

        7.      First Affirmative Defense: Plaintiff has failed to properly exhaust his available

administrative remedies. See 42 U.S.C. § 1997e(a) [Prison Litigation Reform Act].

        8.      Second Affirmative Defense: Plaintiff’s claims for monetary damages,

including but not limited to mental or emotional injury and punitive damages, are barred by 42

U.S.C. § 1997(e)(e) [Prison Litigation Reform Act].




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       9.       Third Affirmative Defense: The Plaintiff has not suffered any damages, as the

damages alleged preceded any of the alleged accrual of claims brought by Plaintiff.

       10.      Fourth Affirmative Defense: Defendant has not violated Plaintiff’s federal

constitutional right to receive adequate medical care.

       11.      Fifth Affirmative Defense: Defendant has not violated Plaintiff’s Eighth

Amendment rights.

       12.      Sixth Affirmative Defense: Defendant has not violated professional standards of

medical care.

       13.      Seventh Affirmative Defense: The Plaintiff’s claims are barred and/or reduced

by assumption of risk, and contributory and/or comparative fault.

       14.      Eighth Affirmative Defense: Defendant is not a medical professional nor does

he supervise medical professionals in making medical decisions.

       14.      Ninth Affirmative Defense: Defendant is entitled to assert all applicable

immunities to Plaintiff’s claims against them, including but not limited to Eleventh Amendment

immunity, sovereign immunity, qualified immunity, official immunity, and discretionary

function immunity.

       15.      Tenth Affirmative Defense: Plaintiff has failed to state a claim upon which

relief may be granted.

                                 RESERVATION OF RIGHTS

       16.      Defendant presently has insufficient knowledge or information upon which to

form a belief as to whether he may have other, as yet unstated, defenses or affirmative defenses.

Defendant reserves the right to assert any additional defenses or affirmative defenses that




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discovery indicates may be appropriate. Defendant likewise reserves the right to amend or to

seek to amend this answer or the defenses asserted herein.

       WHEREFORE, Defendant respectfully demands a jury trial on all issues so triable and

request that this Honorable Court:

       A. Enter judgment in favor of Defendant;

       B. Dismiss the operative complaint; and

       C. Grant such other and further relief as justice may require.

                                             Respectfully submitted,

                                             JOSHUA N. DEBLOIS

                                             By their attorney,

                                             JOHN M. FORMELLA
                                             NEW HAMPSHIRE ATTORNEY GENERAL

Dated: February 23, 2023                     /s/ Lawrence P. Gagnon
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                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was mailed, postage prepaid this _23_ day of
February, 2023, to William Soler Justice 51 Storrs St #310, Concord, NH 03301.

                                             /s/ Lawrence P. Gagnon
                                             Lawrence P. Gagnon




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